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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION

 OPAWL – BUILDING AAPI FEMINIST
 LEADERSHIP et al.,

                    Plaintiffs,                          Case No. 2:24-cv-3495

        v.                                               Judge Michael H. Watson

 DAVE YOST, in his official capacity as                  Magistrate Judge Kimberly A. Jolson
 Ohio Attorney General et al.,

                    Defendants.


                     PARTIES’ JOINT MOTION FOR PROPOSED
                  PRELIMINARY INJUNCTION BRIEFING SCHEDULE

       Pursuant to the Court’s July 8, 2024 initial conference, Plaintiffs and Defendants, by and

through their attorneys, respectfully submit and propose the following briefing schedule for

Plaintiffs’ motion for preliminary injunction.

   1. Defendants shall respond to Plaintiffs’ motion for preliminary injunction by Friday, July

26, 2024.

   2. Plaintiffs shall reply to their motion for preliminary injunction by Friday, August 9, 2024.


                                                 Respectfully submitted,


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                                 CERTIFICATE OF SERVICE

       I hereby certify that on July 8, 2024, a copy of the foregoing was filed electronically. Notice

of this filing will be sent to all parties for whom counsel has entered an appearance by operation

of the Court’s electronic filing system. Parties may access this filing through the Court’s system.


                                              /s/Kaela King




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